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8                             UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

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11   PATRICIA LESLIE E.1, an Individual,          Case No.: 2:20-00140 ADS

12                       Plaintiff,

13                       v.
                                                  JUDGMENT OF DISMISSAL
14   ANDREW M. SAUL, Commissioner of
     Social Security,
15
                         Defendant.
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23   1Plaintiff’s name has been partially redacted in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
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     Administration and Case Management of the Judicial Conference of the United States.


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     Case 2:20-cv-00140-ADS Document 20 Filed 04/29/21 Page 2 of 2 Page ID #:1056




 1          In accordance with the Memorandum Opinion and Order, Dkt. No. 19, filed

 2   concurrently herewith,

 3          IT IS ORDERED AND ADJUDGED that the decision of the Commissioner of

 4   Social Security is affirmed, and this action is dismissed with prejudice.

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 6   DATE: April 29, 2021

 7
                                              /s/ Autumn D. Spaeth
8                                       THE HONORABLE AUTUMN D. SPAETH
                                        United States Magistrate Judge
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